                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:04CR201

UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )
                                    )
v.                                  )
                                    )
VINTAGE PHARMACEUTICALS,            )
INC., WILLIAM PROPST, SR.,          )
WILLIAM PROPST, JR., and            )
QUALITEST PHARMACEUTICAL,           )
INC.,                               )
                                    )
            Defendants.             )
____________________________________)

                                              ORDER

       THIS MATTER IS BEFORE THE COURT on its own motion for scheduling purposes.

When the parties were last before the Court on February 17, 2006 for a hearing on certain discovery

matters, the Court engaged counsel for the parties in discussion regarding an appropriate schedule

for the resolution of this matter. The purpose of this Order is to set a proposed schedule for the

resolution of pending motions, and as needed, for the trial of this matter before a jury.

       This is a complex factual and legal matter in which the government alleges that the defendants,

with the intent to defraud and mislead customers and the FDA, caused certain lots of medications to

be placed in interstate commerce with improper expiration dates. As discussed at the February 17,

2006 hearing, the documents in the case are voluminous, and certain discovery disputes regarding

documents are pending now before the undersigned. The undersigned will issue an order addressing

these discovery issues in due course. There are also numerous other motions now pending and on

referral to Magistrate Judge Keesler for a ruling. Taking all this into account, and further in



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consideration of both the input provided by counsel for the parties and the Court’s own schedule, the

Court directs as follows:

       Regarding pending motions on referral to Magistrate Judge Keesler, those motions shall be

resolved by order, or where appropriate, memoranda and recommendations, by on or before July 31,

2006. This will include the scheduling and conduct of hearings on certain of the motions based on

consultation between Magistrate Judge Keesler and counsel for the parties. In particular, it is

anticipated that a hearing on a certain motion to dismiss and a motion to suppress will be set at the

mutual convenience of the parties and the Court during the month of June 2006.

       In light of the foregoing, the currently scheduled trial date of April 4, 2006 is not feasible.

Therefore, on the Court’s own motion, with the consent of the parties as stated in open court on

February 17, 2006, the trial of this matter is continued and is now set for Monday, October 16, 2006

before the undersigned. The Court finds that the ends of justice served by taking such action

outweigh the interest of the public and the defendant to a speedy trial as set forth in 18 USC §

3161(h)(8)(A), (B).

       SO ORDERED.




                                                  Signed: March 31, 2006




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